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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )      Case No. CR-19-404-D
                                            )
CHERYL M. ASHLEY,                           )
                                            )
                                            )
       Defendant.                           )

                                     ORDER

       Before the Court is Defendant Cheryl M. Ashley’s Motion to File Sentencing

Memorandum Under Seal [Doc. No. 149]. Upon consideration, the Court finds that the

motion should be GRANTED.

       IT IS THEREFORE ORDERED that Defendant Ashley’s Sentencing

Memorandum shall be filed under seal so as to not become a matter of public record,

until further order of the Court.

       IT IS SO ORDERED this 13th day of May, 2022.




                                                       . DeGIUSTI
                                          Chief United States District Judge
